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                                                                      JAMES N, HATTEN, Clark
                                                                By:                   oputy Clerk

                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

        CYNTHIA PERDUM,
               Plaintiff                         CIVIL ACTION FILE
                  VS.                          No. 1:17-cv-00972-SCJ-JCF
       WELLS FARGO HOME
        MORTGAGE; et., al.,                 CONFERENCE IS REQUESTED

              Defendants



                   PLAINTIFF'S NOTICE TO THE COURT


      COMES NOW, Plaintiff, Cynthia Perdum, who respectfully files Plaintiff's

Notice to the Court, and shows the Court the following:

      On July 12, 2019, the Court issued as Order [Doc.112], which goes over the

Final Report and Recommendation of Honorable J. Clay Fuller, United States

Magistrate [Doc,112,p.1].    "In the R& R, Judge King recommended that

Defendant's Motion for Summary Judgment (Doc. No.[90]) be denied." [Id].

      Honorable Judge Jones stated "In conclusion, after review in accordance

with the above-stated standard, the June 10, 2019 Final Report and

Recommendation (Doc. No. [102]) is ADOPTED as- the Order of the Court.

Defendant's objections (Doc. No. [104]) are OVERRULED (Doc. No. [I12].p.3).
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      The Court further stated: "Plaintiff's Leave of Absence for Work (Doc. No.

[107]) is DENIED; however, under the principals of liberal construction of pro se

filings, to the extent that pro se Plaintiff is requesting a stay of deadlines until after

her summer work concludes, the Court will permit the parties to file their joint

proposed pretrial order on or before September 16, 2019" [Doc. No. [112], p.4).

      Defendant has a long history in this case of not responding or cooperating to

Plaintiff's requests when it involved discovery and ignored the Courts Orders.

Plaintiff has not been able to coordinate with Defendant's counsel nor has

Defendant's Counsel sent over their portion to satisfy the Order [Doc. No. [112],

p.4). Plaintiffs email address, phone number and mailing address has not changed

and rather than risk not timely filing the Proposed Pretrial Order, Plaintiff has

filled out what she could fill out, without input from Defendant's counsel.

       Plaintiff prays that the Court will accept her Pretrial Order, and will schedule

the Pretrial Conference.

       Respectfully submitted, this 16th day of September, 2019,




                                                          Cynthia Perdum
                                                         P. O. Box 361797
                                                        Decatur, GA 30036



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            CERTIFICATE OF COMPLIANCE AND OF SERVICE

      Pursuant to L.R. 7.1 D., I hereby Certify, that the foregoing has been

prepared using 14 point, Times New Roman font, a selection approved by the court

in L.R. 5.1C.


                                                      Cynthia Perdum


      I hereby Certify, that I have, this 16th day of September, 2019, served a true

and correct copy of the foregoing Notice upon defendants, through their attorney

on file, by depositing with LISPS, First Class Mail, proper postage affixed and

addressed as follows:


Dylan W. Howard
BAKER, DONELSON, BEARMAN,
CALDWELL & BERKOWITZ, PC —Atl
3414 Peachtree Rd., N.E.
Suite 1600, Monarch Plaza
Atlanta, GA 30326



                                                      Cynthia Perdum




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